









Dismissed and Memorandum Opinion filed November 12, 2004









Dismissed and Memorandum Opinion filed November 12,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00832-CR

____________

&nbsp;

CHRISTOPHER
ANTHONY HARRISON, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
178th District Court

Harris County,
Texas

Trial Court Cause No.
948,973

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered
and Memorandum Opinion filed November 12, 2004.

Panel consists of
Chief Justice Hedges and Justices Fowler and Seymore.

Do not publish C Tex.
R. App. P. 47.2(b).

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